                                                                          IV ED
                                                                IN CLV`1,WS OFFICE
                     UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF                    JUN 2 2p17
                              TENNESSEE
                                                             U.S. DISTRICT Col
To: Clerk of Court                                             MID. D191'. TENN.
From: Alto Parnell III                                  Date:     `>
Re: Dismissal of case no. 3:11-cr-00012-22

 Enclosed with this instrument is a Surety Bond and a self-
addressed envelope requesting a stamped filed copy of both
the Surety Bond and this instrument,:,that is to be deposited
on the court to dismiss case no. 3:11-cr-00012-22 for Plaintiff's
failure to satisfy jurisdictional requirements necessary for
giving the court authority to hear the matter.

 Patently Plaintiff has not been granted court jurisdiction for
case no. 3:11-cr-00012-22. Plaintiff has not invoked court's
jurisdiction. Judicially speaking a court can only undertake
jurisdiction which has been presented by way of Plaintiff's Bill.
Plaintiff has not presented to myself, nor to the court any such _
Bill having all the necessary elements and components as required.

 See for yourself; Plaintiff's charge(s) has no, none, not any
statement of jurisdiction for lower court to take into it's
possession, issues of case number 3:11-cr-00012-22 charging
instrument fails to present equity going to issue of a controversy.
So the District Court should have declined to exercise jurisdiction
for said matter. Whereas, I will be demostrating to your orga-nization
a total lack of authority via other filings.

 See the "Bill"-format again. `s'he parties name(s) and address(s)'
are required. Yet on the Bill the required elements are not offered.
Thereby it is absolutely unclear as to what jurisdiction of the
court Plaintiff intended to rely on for suit. Absent giving court
jurisdiction, there, simply is nothing being prosecuted.

 IN COMMERCE; You are aware, for the field that deficiencies/defects
must be corrected, removed, or replaced. By pretext of deficiencies
this matter must be removed (i.e. DISMISSED). Presentation before
you is of "GOOD FAITH", and must be afforded due process for interest
of Liberty.

Lower Court's exercise was completely inappropriate. The Plaintiff
did not provide a valid complaint, an address or any other .
information about the alleged defendant. Thus, the court was not
given necessary elements needed to take jurisdiction or to receive
it. Therefore case :must be'dismissed, in TOTAL.

 Absent complaint containing any jurisdiction statute(s). Plaintiff's
contract to affect any legal relations, here, has failed to demo-.
nstrate any grounds for Federal Jurisdiction in this case or any
derivative action(s) for case no. 3:11-cr-00012-22.

The Flaw in this matter is no mere procedural technicality and must
be corrected.
                                           Cordially,

                                   .4   0   02'


  Case 3:11-cr-00012 Document 2856 Filed 06/26/17 Page 1 of 3 PageID #: 15294
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                                SURETY BOND


    There appearing no bond of record to initiate the

   matter regarding case: 3:11-cr-00012 and associated

   c,cco':,rt`(   in the. District Court ofTennessee.

   In the County of Davidson, I, Alto Parnell III

   undertake as follows:                                                        0d

    In consideration there of that no money of intrinsic

   value exist in circulation, and in consideration                                  ;.

   thereof that I have suffered dishonor regarding the

   matter of case: 3:11-cr-00012 and associated account(s)

   I underwrite with my exemption any and all obligations

   s.ustained by the Plain_tiff(s;', UNITED STATES DEPARTMENT

   OF JUSTICE, UNITED STATES OF AMERICA, STATE OF TENNESSEE,

   FEDERAL BUREAU OF PRISON, and the respectful citizens

   thereof regarding said matter.

   If any party_in this matter wishes to make a claim on this
  'bond to cover any and all injuries sustained in this matter,
   one can forward .their claim in affidavit form to the below
   address to. Alto Parnell III and their claim will be discharge
     Done at McCreary County, Kentucky, this        -,




                                               Exemptiow-no: 294800948

                                               c/o LY.S.P. McCreary
                                               P.O. Box 3000
                                               Pine Knot, KY 42635




Case 3:11-cr-00012 Document LLui
                            2856nw-Filed 06/26/17 Page 2 of 3 PageID #: 15295
                    Certificate of Service                               .




                                           hereby certify that I have served a true and
   correct copy of the following: 1,-444- n-* ~4FwaVamp Gkd eo~ d# hhv fuiW,I:.doccaaku1.S
                             J Of 331 s a( or      im1faM Ak, P ~




 which is deemed filed at the time itwas delivered to prison authorities for fom-&ding
 [Ffoustan v. Lack 101 L.Ed.2d 245 (l 989)] upon the defendants) and or his/her
 attorncy(s) of record by placing same in a sealed, postage prepaid envelope
 addressed to
                    Cur-~Cle~'~t
                   NI       -PI
                                            %00
                    &sNl I le'l ` W 3 720


and by depositing same in the UrLited States Mail at the United State Penitentiary,
 :mac tta~        on this             -day of




                                                     . ( Name)


                                                        (Address)

                                             iN~s lnt      Kv 423:,
                                                  (City, State, Zip)'




      Case 3:11-cr-00012 Document 2856 Filed 06/26/17 Page 3 of 3 PageID #: 15296
